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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA          )
                                  )       CRIMINAL ACTION NO.
     v.                           )           2:94cr62-MHT
                                  )               (WO)
DONALD MINEFIELD, a/k/a           )
DONALD MINNIFIELD                 )

                              JUDGMENT

    Because defendant Donald Minefield (also known as

Donald Minnifield) is clearly not entitled to relief

and because it appears that he is now deceased, it is

ORDERED    that    defendant's        motion     for     a    sentence

reduction (doc. no. 2099) is denied.

    It is further ORDERED that defendant’s incorporated

motion for appointment of counsel (doc. no. 2099) is

denied as moot.

    DONE, this the 9th day of March, 2017.

                                   /s/ Myron H. Thompson
                                UNITED STATES DISTRICT JUDGE
